       Case 1:17-cr-00205-TLN Document 50 Filed 06/21/18 Page 1 of 2


1    HEATHER E. WILLIAMS, CA Bar #122664
     Federal Defender
2    VICTOR M. CHAVEZ, CA Bar #113752
     Assistant Federal Defender
3    Office of the Federal Defender
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorneys for Defendant-Appellant
6    RAFAEL CARDENAS
7
8                               IN THE UNITED STATES DISTRICT COURT
9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           Case No. 1:17-cr-00205-DAD-BAM-1
12                        Plaintiff,                      STIPULATION AND ORDER TO
                                                          CONTINUE MOTION HEARING
13
14       vs.                                              DATE: June 25, 2018
                                                          TIME: 10:00 a.m.
15    RAFAEL CARDENAS,                                    JUDGE: Dale A. Drozd
16                        Defendant.
17
18             IT IS HEREBY STIPULATED by and between the parties hereto through their
19   respective counsel that hearing on defendant’s discovery motion now set for June 25, 2018 at 10:00
20   a.m. may be moved to July 16, 2018 at 10:00 a.m. The reason for this request is to allow the parties
21   more time to attempt to resolve the issues. Due to medical leave, defense counsel is not available
22   to meet this week. The parties will meet and confer the week prior to the hearing date and advise
23   the court of any unresolved issues.
24             It is further stipulated that time be excluded up to and including July 16, 2018 under 18
25   U.S.C. § 3161(h)(D) and pursuant to 18 U.S.C. §3161(h)(7)(A). The parties agree that the delay
26   resulting from the requested continuance shall be excluded as necessary for additional time for
27   parties to meet and confer in an attempt to resolve issues on discovery motion. For this reason,
28   the ends of justice served by the granting of the requested continuance outweigh the interests of
       Case 1:17-cr-00205-TLN Document 50 Filed 06/21/18 Page 2 of 2


1    the public and the defendant in a speedy trial.
2
                                                                   Respectfully submitted,
3
                                                                   MCGREGOR W. SCOTT
4                                                                  United States Attorney
5    Dated: June 21, 2018                                   By:   /s/ Ross Pearson
                                                                  ROSS PEARSON
6                                                                 Assistant United States Attorney
                                                                  Attorney for Plaintiff
7
8                                                                 HEATHER E. WILLIAMS
                                                                  Federal Defender
9
10   Dated: June 21, 2018                                   By:    /s/ Victor M. Chavez
                                                                   VICTOR M. CHAVEZ
11                                                                 Assistant Federal Defender
                                                                   Attorney for Defendant
12                                                                 RAFAEL CARDENAS
13
14                                                 ORDER
15          The court has reviewed and considered the stipulation of the parties to continue the
16   motion hearing in this case. Good cause appearing, the hearing on motion for disclosure of
17   identity of confidential informant (Doc. 45) by defendant Rafael Cardenas currently set for
18   6/25/2018, is continued to 7/16/2018, at 10:00am. Time is excluded through the court’s ruling
19   on the motion under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and
20   (iv), as the ends of justice served by granting the continuance outweigh the best interest of the
21   public and the defendant in a speedy trial.
22
     IT IS SO ORDERED.
23
24      Dated:     June 21, 2018
                                                           UNITED STATES DISTRICT JUDGE
25
26
27
28



                                                       2
